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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION

DEANNA RIS,

Plaintiff, CASE NO.
vs.
ICOLLECT.COM, CORP.

Defendant.

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Plaintifl`, Deanna Ris (“Plamtiff”), by and through her undersigned counsel submits the
following Complaint against Defendant, ICollect.com, Corp. (“Defenclant”).

l. Plaintiff alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §
227 et seq. (“TCPA”), the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”),
and the Florida Consumer Collection Practices Act Fla. Stat. § 559.55 et seq. (“FCCPA”) against
Defendant. Plaintiff alleges that Defendant incessantly and unlawfully called Plaintist cellular
telephone using an automatic telephone dialing system (z`.e. “auto-dialer”) and a pre-recorded or
artificial voice.

JURISDICTION AND VENUE

2. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 15 U.S.C. §
1692k as this is a civil action arising under the laws of the United States.

3. This Comt has personal jurisdiction over the Defendant because the telephone calls
forming the basis of this action Were placed by the Defendant into this Dism`ct, and because Defendant
conducts business in this District by regularly placing telephone calls, sending mail, and transacting

with alleged debtors in this District.

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4. Venue in this District is proper because the Plaintiil‘_` resides here and received

telephone calls B'om Defendant within this District.
PARTIES

5. Plaintifi` is a natural person and a citizen of the State of Florida, residing in Pasco
County, Florida. Plaintiff is a cellular subscriber and has dominion over the cellular telephone that
Defendant was calling.

6. Defendant is a debt collector that uses, among other things, an automated telephone
dia]jng system to engage in debt collection. Defendant regularly does business in Florida, is a licensed
Consurner Collection Agency in Florida, and maintains a registered agent in Florida.

7. Defendant regularly collects or attempts to collect consumer debts for other persons

8. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6).

FACTUAL ALLEGATIONS

9. Defendant contends that Plaintiff owes money on a loan obtained through
MyC ashNow.com. Plaintiff disputes that she owes any such debt.

10. At some point after the alleged debt went into default, the subject debt was
assigned, acquired by or consigned to Defendant for purposes of collection.

1 1 . In or around early 2016 Defendant began calling Plaintiff on her personal cell phone
attempting to collect the subject debt. Defendant’s phone calls were often in either an automated,
pre-recorded voice or there was a pause and then a click before one of Defendant’s agents would
begin talking to Plaintiff.

12. On some occasions, when the phone call from Defenth clicked over from its
automatic telephone dialing system, Defendant’s agents would ask Plaintiff if she called Defendant

or if Defenth called her.

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13. Beginning in or around April 2016, Plaintif`f demanded that Defendant stop calling
her phone. In doing so, Plaintif`f unambiguously retracted any consent Defendant could have
believed it had to call Plaintifi" s personal cell phone.

14. On numerous occasions, Plaintifi` informed Defendant that the subject debt was not
hers, that the calls bothered Plaintif`f, and repeatedly requested that Defendant stop calling.
Defendant’s agents often responded by stating that they would not stop calling her and that the
calls would continue until Plaintif`f paid the subject debt.

15. Defendant’s agents further threatened to put the subject debt on Plaintiff’ s credit
report, even though Plaintifi` informed Defendant that the debt was not hers.

16. Defendant’s agents otten would not state Defendant’s business name or identity
when calling Plaintiff.

17. Defendant never sent Plaintiff` a dunning collection letter Within five days of its
initial communication as required by 15 U.S.C. § 1692g.

18. Defendant’s agents would often hang up on Plaintiff` during phone calls.

19. Defendants calls came in h‘om a variety of telephone numbers, but most frequently
from (866) 537-5907.

20. As of August 2016, Defendant continues to call Plaintiff’s personal cell phone,
Without Plaintiff’ s consent, after Plaintiff has repeatedly demanded for months that Defendant stop
calling her.

21. Defendant made the aforementioned telephone calls knowing that they were using
an automatic telephone dialing system or an artificial voice or prerecorded voice to ca11 a cellular
telephone, and further knew that such calls were in violation of` the TCPA, and consequently, these

violations were willful and knowing

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22. Moreover, Defendant began placing automated telephone calls after Plaintiff
informed Defendant to stop calling him and all reasonable attempts at persuasion and negotiation
to collect the subject debt had failed. Defendant’s calls were aimed solely at harassing Plaintiff
and exhausting Plaintiffs will. See Schauer v. Morse Opemtz'ons, Inc., 5 So.3d 2, 5 (Fla. Dist. Ct.
App. 2009) (citing Story v. J.M. Fields, Inc., 343 So.2d 675, 677 (Fla. Dist. Ct. App. 1977)).

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VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

23. Plaintiff incorporates paragraphs l through 22 herein.

24. Defendant violated 47 U.S.C. § 227(b)(l)(A)(iii) of the Telephone Consumer
Protection Act by making telephone calls to Plaintiff’s cellular telephone, which were initiated by
an automatic telephone dialing system or made using an artificial or prerecorded voice, without
Plaintiff’s consent or after Plaintifi’s consent had been revoked, and not legally permissible under
any provision to the aforementioned statute.

WHEREFORE, Plaintifi` requests that the Court enter judgment in favor of Plaintiff and
against Defendant for:

a. $500 dollars in statutory damages for each violation of the TCPA over the last four
years

b. $1,500 dollars in statutory damages for each knowing or willful violation of the
TCPA over the last four years;

c. A permanent injunction prohibiting Defendant from placing non-emergency calls
to Plaintiff’s cellular telephone using either an automatic telephone dialing system
or an artificial or prerecorded voice; and

d. Such other or ii.uther relief as the Court deems proper.

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VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

25. Plaintiff incorporates paragraphs 1 through 22 herein.

26. Defendant’s above-referenced actions violated the FDCPA, including violations of
15 U.S.C. 1692d, 1692d(2), 1692d(5), 1692d(6), 1692e, 1692e(5), 1692f, 1692f(l), and 1692g.

27. As a result of Defendant’s violation of the FDCPA, pursuant to 15 U.S.C. § l692k,
Plaintiff is entitled to statutory damages in an amount up to $1,000.00, plus reasonable attorneys’
fees and costs.

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MATIONS OF TH_]§_FLORIDA CONSUMER COLLECTION PRACTICES ACT

28. Plaintiff incorporates paragraphs 1 through 22 herein.

29. The foregoing acts and omissions of Defendant violate FCCPA § 559.72(7), which
states that is a violation to “[w]illfully communicate With the debtor or any member of her or his
family with such Hequency as can reasonably be expected to harass the debtor or her or his family,
or willfully engage in other conduct which can reasonably be expected to abuse or harass the debtor
or any member of her or his family.”

30. As a result of Defendant’s violations of FCCPA, pursuant to Section 559.77, Fla.
Stat. Plaintiff is entitled to statutory damages in an amount up to $1,000.00, plus reasonable
attomeys’ fees and costs.

WHEREFORE, Plaintiff demands judgment for statutory damages as outlined above,

attorney’s fees, costs and such further relief as this Court deems just and proper.

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DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury on all issues so triable.

Respectfully submitted,

DISPARTI FOWKES & HASANBASIC, P.A.

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